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     CHARLES LA BELLA
 1   Deputy Chief
     THOMAS B. W. HALL
 2   ALISON ANDERSON
     Trial Attorneys
 3   Fraud Section, Criminal Division
     U.S. Department of Justice
 4   1400 New York Avenue, NW
     Washington, DC 20530
 5   (202) 616-1682
 6
                          UNITED STATES DISTRICT COURT
 7
                               DISTRICT OF NEVADA
 8                                    -oOo-
 9    UNITED STATES OF AMERICA,                     )
                                                    )
10                                                  )
                     Plaintiff,                     )
11                                                  )
12                   v.                             )       CASE NO. 2:12-CR-113-JCM-VCF
                                                    )
13                                                  )
      PAUL CITELLI                                  )       UNOPPOSED MOTION TO
14                                                  )       CONTINUE SENTENCING
                     Defendant.                     )
15                                                  )
                                                    )
16

17
            COMES NOW, the United States of America, by and through ANDREW WEISSMANN,
18
     Chief, U.S. Department of Justice, Criminal Division, Fraud Section, and THOMAS B.W.
19
     HALL, Trial Attorney, U.S. Department of Justice, Criminal Division, Fraud Section, and moves
20
     to continue the sentencing hearing as to Paul Citelli presently set for calendar call on May 18,
21
     2015, at the hour of 9:00 am.
22
            The parties respectfully request this Honorable Court to continue Citelli’s sentencing
23
     hearing until at least September 30, 2015 to allow time for the defendant to complete his
24
     cooperation in the case of United States v. Markham, Case No. 2:14-cr-00388-JCM-GWF,
25
     currently set for trial on August 24, 2015.
26
            This is the fifth request for a continuance of this Sentencing date.




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 1              Pursuant to General Order No. 2007-04, this Stipulation is entered into for the following
 2   reasons:
 3              1. The defendant has entered a plea agreement with the United States that requires the
 4   defendant to cooperate with the United States in connection with its ongoing investigation of a
 5   fraudulent scheme involving Las Vegas Home Owners Associations. The defendant is
 6   cooperating with the United States in this investigation, which involves a number of co-
 7   conspirators.
 8              2. The defendant’s Plea Agreement affords the defendant potential consideration for
 9   downward departures at the time of sentencing if the defendant has provided substantial
10   assistance to the United States, including the possibility of a United States Sentencing Guideline
11   (U.S.S.G.) § 5K1.1 Motion.
12              3. The United States anticipates at least one future trial related to this matter: United
13   States v. Markham, Case No. 2:14-cr-00388-JCM-GWF, currently set for August 24, 2015. This
14
     trial may allow the defendant the opportunity to provide further cooperation as a witness,
15
     including the possibility of testifying at trial.
16
                4. Counsel for the United States has spoken with counsel for the defendant and counsel
17
     has agreed that the requested continuance is in the best interest of justice, and counsel does not
18
     oppose the continuance sought herein. The defendant is not in custody.
19
                5. Denial of this request for continuance would deny the parties sufficient time and
20
     opportunity to develop the defendant’s cooperation against the related co-conspirators and
21
     targets and prepare related cases for prosecution.
22
                6. Furthermore, denial of this request for continuance could result in a miscarriage of
23
     justice.
24
     /
25
     /
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 1     DATED this 28th day of April 2015.
 2                                              Respectfully submitted,
 3
                                                ANDREW WEISSMANN
 4                                              Chief, U.S. Department of Justice
                                                Fraud Section, Criminal Division
 5
                                                /s/ Thomas B.W. Hall
 6                                              THOMAS B.W. HALL
                                                Trial Attorney, U.S. Dept. of Justice
 7
                                                Criminal Division, Fraud Section
 8

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 1                        UNITED STATES DISTRICT COURT
 2                             DISTRICT OF NEVADA
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 3
      UNITED STATES OF AMERICA,                       )
 4                                                    )
                                                      )
 5                   Plaintiff,                       )
                                                      )
 6
                     v.                               )       CASE NO. 2:12-CR-113-JCM-VCF
 7                                                    )
                                                      )
 8    PAUL CITELLI                                    )       PROPOSED ORDER
                                                      )
 9                   Defendant.                       )
                                                      )
10                                                    )

11

12                                          FINDINGS OF FACT

13          Based on the Government’s pending Unopposed Motion to Continue Sentencing, and

14   good cause appearing therefore, the Court hereby finds that:

15          1. The parties are in agreement to continue the Sentencing date as presently scheduled.

16          2. This Court is convinced that an adequate showing has been made that to deny this

17              request for continuance, taking into account the exercise of due diligence, would deny

18              the United States sufficient time to be able to effectively prepare for the co-

19              conspirator and target trials and would bar the defendant from the opportunity to

20              cooperate and potentially receive downward departures at the time of sentencing. This

21              decision is based on the following findings:

22                 a. The defendant agreed in his plea agreement to cooperate against his

23                        coconspirators in any related indictments and trials.

24                 b. The United States agreed to consider downward sentencing concessions for

25                        the defendant’s cooperation, including possible U.S.S.G. 5K1.1 Motions if
26                        substantial assistance resulted from such cooperation.




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 1                  c. The United States anticipates several additional pleas, indictments and trials in
 2                      related cases. Specifically, the defendant may be called to testify in United
 3                      States v. Markham, Case No. 2:14-cr-00388-JCM-GWF, set for trial on
 4                      August 24, 2015.
 5                  d. The parties need additional time to prepare the defendant’s cooperation
 6                      against other co-conspirators and targets.
 7                  e. The defendant does not object to the continuance.
 8                  f. The defendant is out of custody.
 9          3. For all the above-stated reasons, the ends of justice would best be served by
10              continuing the Sentencing date.
11

12                                                ORDER
13          IT IS THEREFORE ORDERED that the Sentencing date currently set for May 18,
14
     2015, is vacated and is continued. It is further ordered that the defendant’s sentencing hearing is
15
             October 5 ____, 2015, at the hour of __________
     set for _________                             10:00                           6A
                                                             a.m., in Courtroom # __________.
16

17
                    DATED this
                          April_____ day of _____________, 2015.
                                28, 2015.
18

19                          _________________________________
                            UNITED STATES DISTRICT JUDGE
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 1                        UNITED STATES DISTRICT COURT
 2                             DISTRICT OF NEVADA
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 3
      UNITED STATES OF AMERICA,                      )
 4                                                   )
                                                     )
 5                   Plaintiff,                      )
                                                     )
 6
                     v.                              )        CASE NO. 2:12-CR-113-JCM-VCF
 7                                                   )
                                                     )
 8    PAUL CITELLI                                   )        CERTIFICATE OF SERVICE
                                                     )
 9                   Defendant.                      )
                                                     )
10                                                   )

11
             I, the undersigned, hereby certify that this pleading was filed with the clerk of court via
12
     ECF and will be served electronically via ECF on all parties that have entered their appearances
13
     in this case.
14

15
             Dated: April 28th, 2015
16

17
                                                    ANDREW WEISSMANN
18                                                  Chief, U.S. Department of Justice
                                                    Fraud Section, Criminal Division
19
                                                    /s/ Thomas B.W. Hall
20
                                                    THOMAS B.W. HALL
21                                                  Trial Attorney, U.S. Dept. of Justice
                                                    Criminal Division, Fraud Section
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